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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TERESA HARWOOD,

                   Plaintiff,         Civil Action No. 18-12567
                                      Honorable Terrence G. Berg
v.                                    Magistrate Judge Elizabeth A. Stafford

NORTH AMERICAN BANCARD
LLC, et al.,

              Defendants.
__________________________________/

         NOTICE TO APPEAR FOR SETTLEMENT CONFERENCE

       TAKE NOTICE that the above-entitled matter has been scheduled for

settlement proceedings on TUESDAY, AUGUST 8, 2023, at 10:00 a.m.

before Magistrate Judge Elizabeth A. Stafford, at Theodore Levin

Courthouse, 231 W. Lafayette Boulevard, Detroit, MI 48226 in courtroom

642. The parties must strictly comply with these requirements:

     1. Two weeks before the settlement conference, the parties must
        exchange statements that are no more than ten pages and with
        exhibits that total no more than ten pages, and must include the
        following clearly marked sections:

       a. A brief description of the background and nature of the case.
       b. The party’s perceived strengths.
       c. A statement identifying each cause of action at issue, and the
          remedies available under each of those causes of action.

     2. Within the week after the parties exchange their statements, counsel
        must meet and confer in good faith. During the meeting, the
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      attorneys must exchange good-faith and realistic offers to settle. By
      the settlement conference, each party must have made a good faith
      offer of settlement.

   3. Seven days before the settlement conference, each party must
      submit by email (efile_stafford@mied.uscourts.gov) both a copy of
      the settlement statement that it submitted to the opposing party, and
      a confidential, ex-parte addendum directly to the chambers of the
      Honorable Elizabeth A. Stafford, United States Magistrate Judge. DO
      NOT FILE THESE STATEMENTS WITH THE COURT. The
      addendum must include:

      a. The party’s perceived weaknesses.
      b. Any confidential information the party wants to share with the
         Court.
      c. A summary of the pre-conference settlement discussions,
         including the specific amount of any offers and counter-offers
         that were exchanged. Settlement discussions that took place
         more than two weeks before the settlement conference do not
         satisfy this requirement.
      d. The specific amount of the party’s opening settlement offer, to be
         shared with the opposing side, for the purpose of the conference.

   4. Attorneys must prepare their clients for the settlement conference as
      directed on the attached Attorney Settlement Conference
      Preparation. At the settlement conference, the parties and their
      attorneys are expected to conduct themselves in a business-like
      manner and to negotiate in good faith.

   5. Individuals with full settlement authority must be personally
      present at settlement conferences. For the plaintiff(s), “full
      settlement authority” means the authority to dismiss the complaint
      with prejudice in exchange for a settlement. For the defendant(s),
      “full settlement authority” is defined as the full relief requested in the
      lawsuit or the relief requested by the last settlement demand. If an
      insurance company agent holds the full settlement authority, such
      agent must be present at the conference. If a party appears at the
      conference with authority to settle for only less than full
      settlement authority, the Court will reschedule the conference.
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      NOTICE ABOUT DRINKS AND SNACKS: as a matter of court-wide
policy, no bottled water, coffee or soft drinks are provided for
attorneys or parties appearing for settlement conferences. Counsel
and parties may also bring their own refreshments to the settlement
conference.

    IF THE PARTIES DO NOT TIMELY SUBMIT THEIR SETTLEMENT
STATEMENTS, THE COURT WILL RESCHEDULE OR CANCEL THE
CONFERENCE.


Dated: June 23, 2023               s/Elizabeth A. Stafford
                                   ELIZABETH A. STAFFORD
                                   United States Magistrate Judge



                       CERTIFICATE OF SERVICE

     I hereby certify that on this date a copy of the foregoing notice was
served upon the parties and/or counsel of record herein by electronic
means or first-class U.S. mail.

Dated: June 23, 2023               s/Marlena Williams
                                   MARLENA WILLIAMS
                                   Case Manager
